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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                               :
ANGEL SULLIVAN-BLAKE and HORACE                :
CLAIBORNE, on behalf of themselves and         :
others similarly situated,                     :
                                               :   Civil Action No. 2:18-cv-01698-CRE
                   Plaintiffs,                 :
               v.                              :
                                               :
FEDEX GROUND PACKAGE SYSTEM,                   :
INC.,                                          :
                                               :
                   Defendant                   :
                                               :


                    NOTICE OF WITHDRAWAL OF OPT-IN CONSENT FORMS


       Plaintiffs hereby withdraw the Opt-In Consent Forms on behalf of the following

individuals:

               •    Alyssa Brown
               •    Amir Razavi
               •    Angelo Miller
               •    Anthony Armstrong
               •    Ben Zegarelli
               •    Brandon Bond
               •    Brian Hornbuckle
               •    Chris Foster
               •    David M. Dario
               •    Debbie Reetz
               •    Debra Gonzalez
               •    Donovon Cowley
               •    Edgar David Trujillo
               •    Emmett Burroughs
               •    Eric Stenson
               •    Gary Winnie
               •    Gregory Spease
               •    Jake Miller
               •    James Linett
               •    Jeffrey Reetz

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           •   John Hounshell
           •   Jose Torres
           •   Joshua Martin
           •   Joshua Schirmer
           •   Justin Barton
           •   Kirck Kerr
           •   Kyle Taylor
           •   Michael Reetz
           •   Rafael Carmona
           •   Ramon Paradela
           •   Richard Bateman
           •   Steve Santoro
           •   Tammy Rae Dvorak
           •   Terry Cuba
           •   Trenton McDonald
           •   William Guy


Dated: February 10, 2021            Respectfully submitted,

                                    ANGEL SULLIVAN-BLAKE and HORACE
                                    CLAIBORNE, on behalf of themselves and others
                                    similarly situated
                                    By their attorneys
                                    /s/ Shannon Liss-Riordan_____
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                                    Dustin T. Lujan (pro hac vice)
                                    LUJAN LAW OFFICE

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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 10, 2021, I caused a true and correct copy of the

foregoing to be filed with the Court’s CM/ECF system, which constitutes service on Defendant,

whose counsel are registered participants on that system.


                                             /s/ Shannon Liss-Riordan_____
                                             Shannon Liss-Riordan




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